Case 5:22-cv-04486-BLF Document 307-1 Filed 02/28/23 Page 1 of 5




                 Exhibit 1
      Case 5:22-cv-04486-BLF Document 307-1 Filed 02/28/23 Page 2 of 5




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15   Counsel for the Kingdom of Saudi Arabia
                              UNITED STATES DISTRICT COURT
16
                            NORTHERN DISTRICT OF CALIFORNIA
17
     MATT JONES, BRYSON DECHAMBEAU,               Case No. 5:22-cv-04486-BLF
18   PETER UIHLEIN, and LIV GOLF INC.,
19                       Plaintiffs,              AMICUS BRIEF OF THE KINGDOM OF
                                                  SAUDI ARABIA IN SUPPORT OF THE
20         v.                                     PUBLIC INVESTMENT FUND OF THE
                                                  KINGDOM OF SAUDI ARABIA AND HIS
21   PGA TOUR, INC.,
                                                  EXCELLENCY YASIR O. AL-
22                       Defendant and            RUMAYYAN’S MOTION FOR RELIEF
                         Counter-Plaintiff,       FROM NONDISPOSITIVE PRETRIAL
23                                                ORDER OF MAGISRATE JUDGE
           v.
24
     LIV GOLF INC., THE PUBLIC                    Judge:        Hon. Beth Labson Freeman
25   INVESTMENT FUND OF THE KINGDOM
     OF SAUDI ARABIA, AND YASIR
26   OTHMAN AL-RUMAYYAN,                          Date Filed:   August 3, 2022

27                       Counter-Defendants.      Trial Date:   January 8, 2024
28

                         AMICUS BRIEF OF THE KINGDOM OF SAUDI ARABIA –
                                     Case No. 5:22-cv-04486-BLF
      Case 5:22-cv-04486-BLF Document 307-1 Filed 02/28/23 Page 3 of 5




 1          The Kingdom of Saudi Arabia (“Saudi Arabia”) is a sovereign nation. The Public

 2 Investment Fund (“PIF”) is Saudi Arabia’s sovereign wealth fund, and His Excellency Yasir O.

 3 Al-Rumayyan is its Governor and holds the rank of a Minister in Saudi Arabia’s government.

 4          The February 9, 2023 Order enforces a Rule 45 subpoena issued by a private party against

 5 an instrumentality of a foreign sovereign and a senior foreign official acting in his official

 6 government capacity. That is unprecedented. Even private foreign entities and “foreign nationals

 7 are beyond the court’s subpoena power.” Relational, LLC v. Hodges, 627 F.3d 668, 673 (7th Cir.

 8 2010); SiteLock, LLC v. GoDaddy.com, LLC, 338 F.R.D. 146, 148 (D. Or. 2021). Such entities

 9 and individuals “owe no allegiance to the United States,” KLP Indus., L.L.C. v. Pelaez, 2006 WL

10 8434699, at *5 (S.D. Fl. Dec. 19, 2006), and discovery from them may be compelled only through

11 an applicable international convention or through a letters rogatory process that seeks, but cannot

12 require, a foreign country’s assistance in obtaining discovery. See 28 U.S.C. 1781(b); see also

13 Lantheus Med. Imaging, Inc. v. Zurich Am. Ins. Co., 841 F. Supp. 2d 769, 782 (S.D.N.Y. 2012).

14 Here, Saudi Arabia is not a party to any applicable international convention, see In re Terrorist

15 Attacks on Sept. 11, 2001, 2020 WL 8611024, at *3 (S.D.N.Y. Aug. 27, 2020), aff ’d, 2021 WL

16 2227204 (S.D.N.Y June 2, 2021), and no letters rogatory have been issued. The rule that foreign

17 non-parties are beyond Rule 45’s subpoena power has even greater force as to subpoenas issued to

18 an instrumentality of a foreign government and to a senior foreign official. Enforcing such
19 subpoenas would improperly “threaten a foreign sovereign with contempt sanctions if it does not

20 comply with legal processes that it . . . does not ascribe to.” Id. at *5. The February 9, 2023 Order

21 identifies no source of authority for a court to enforce a Rule 45 subpoena against a foreign

22 sovereign or official or any court that has done so over a sovereign’s objection.

23          Even if a district court could issue a subpoena to a foreign sovereign or its officials, and

24 even if the targets of those subpoenas were not immune, established principles of comity preclude

25 the enforcement of such subpoenas. Private litigants in U.S. court cannot simply subpoena records

26 and testimony from the United States government, its agencies, or officials when they are non-

27 parties to the underlying litigation. Any such efforts are subject to agency-specific regulations and

28 ultimately the agency’s own determination of whether to provide discovery, which courts review
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                            AMICUS BRIEF OF THE KINGDOM OF SAUDI ARABIA –
                                        Case No. 5:22-cv-04486-BLF
      Case 5:22-cv-04486-BLF Document 307-1 Filed 02/28/23 Page 4 of 5




 1 under a deferential arbitrary-and-capricious standard. See United States ex rel. Touhy v. Ragen,

 2 340 U.S. 462 (1951); In re Elko Cnty. Grand Jury, 109 F.3d 554, 557 n.1 (9th Cir. 1997).

 3 “[C]omity dictate[s] that [the court] accord the same respect to foreign officials” and sovereigns as

 4 it does “to [its] own.” In re Papandreou, 139 F.3d 247, 254 (D.C. Cir. 1998).

 5          Saudi Arabia’s law provides no mechanism for litigants in its own courts (and certainly not

 6 those of other countries) to compel discovery or testimony from any non-party government entity

 7 or official. It further prohibits disclosure of the internal operations of Saudi Arabia’s government,

 8 including those of PIF. See ECF No. 306-1 (Alarfaj Expert Opinion), at ¶¶ 20-27; ECF No. 166-4,

 9 at 16 (PIF Law art. 17, protecting “Board members and Fund Employees[’]” confidential

10 information); ECF No. 211-7, at 5 (Penal Law on Dissemination and Disclosure of Classified

11 Information and Documents art. 5 providing that disseminating or disclosing classified

12 information or documents will be punished by imprisonment). Those laws are “not merely

13 protective of private interests but expressive of a public interest,” Motorola Credit Corp. v. Uzan,

14 73 F. Supp. 3d 397, 404 (S.D.N.Y. 2014), and deserve respect as a matter of comity. See Société

15 Nationale Industrielle Aérospatiale v. U.S. Dist. Ct. for S. Dist. of Iowa, 482 U.S. 522, 546 (1987).

16          The Court, however, need not decide this novel issue or the other weighty sovereign-

17 immunity and personal-jurisdiction issues raised by the February 9, 2023 Order in the context of

18 the current Rule 72 objections. The Court has held that both PIF and the Governor may be added
19 as counter-claim defendants. See ECF No. 280. They will be parties to the suit once service is

20 made, at which point any discovery must be governed by Rules 30 and 34. See Peyton v. Burdick,

21 2008 WL 880573, *1 (E.D. Cal. Mar. 31, 2008) (holding that even if Rule 45 applies to party

22 discovery, the Rules concerning party discovery govern); Rogers v. Bellerose, 2020 WL 6075621,

23 at *2 (N.D. Cal. Oct. 15, 2020) (prohibiting a party from seeking “supplemental responses” from

24 Rule 45 subpoena recipient who had become a party). Before any such discovery may occur, the

25 Court must resolve PIF’s and the Governor’s immunity from suit as well as personal jurisdictional

26 issues. See Phaneuf v. Republic of Indonesia, 106 F.3d 302, 305 (9th Cir. 1997). Those complex

27 issues are better evaluated after full briefing on the forthcoming motions to dismiss, rather than on

28 the truncated briefing on the current Rule 72 objections.
                                                      2
                            AMICUS BRIEF OF THE KINGDOM OF SAUDI ARABIA –
                                        Case No. 5:22-cv-04486-BLF
     Case 5:22-cv-04486-BLF Document 307-1 Filed 02/28/23 Page 5 of 5




 1 DATED: February 28, 2023           Respectfully submitted,

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                      AMICUS BRIEF OF THE KINGDOM OF SAUDI ARABIA –
                                  Case No. 5:22-cv-04486-BLF
